
The Supreme Court affirmed the ruling of the Court below on March 28, 1881, in the following opinion :
Per Curiam.
The amendment striking out the name of Mangold — one of the original defendants — was clearly within the power of the Court under the Act of April 12, 1858, P. Laws,'243. No harm was done to the remaining defendants by refusal of leave to withdraw the pleas in bar and plead in abatement. The very question which would have arisen under that plea, had issue been taken on it, was decided under the plea in bar. The liability of the remaining members of the firm to the plaintiff below was fairly submitted to the jury ; namely whether there was a settlement of the partnership affairs and a promise to pay on the part of the defendants. Judgment affirmed.
